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                    Exhibit A
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Kelley, Matthew E. (DC)

From:                             Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov>
Sent:                             Monday, January 13, 2020 6:02 PM
To:                               Matt Topic
Cc:                               Tobin, Charles D. (DC); Kelley, Matthew E. (DC); FOIA Team
Subject:                          RE: CNN/Leopold v DOJ 19-1278 - (b)(5) privileges
Attachments:                      2020.1.13 List of b5 Withholdings.pdf



⚠ EXTERNAL
Hi Matt,

Please see the attached list that indicates the privilege(s) withheld under Exemption 5.

Best regards,
Courtney


Courtney Enlow
Trial Attorney
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, N.W., Room 12102
Washington, D.C. 20005
(202) 616-8467
courtney.d.enlow@usdoj.gov



From: Matt Topic <matt@loevy.com>
Sent: Friday, January 10, 2020 6:31 PM
To: Enlow, Courtney D. (CIV) <cenlow@CIV.USDOJ.GOV>
Cc: Tobin, Charles D. <TobinC@ballardspahr.com>; Kelley, Matthew E. <kelleym@ballardspahr.com>; FOIA Team
<foia@loevy.com>
Subject: Re: CNN/Leopold v DOJ 19-1278 - (b)(5) privileges

No problem at all. You too.

On Fri, Jan 10, 2020 at 5:18 PM Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov> wrote:
 Hi Matt,

 I’m apologize—I’ve been handling urgent matters in my other cases yesterday and today. I will get you a
 response on Monday.

 I hope you have a pleasant weekend.

 Courtney Enlow
 U.S. Department of Justice
 (202) 616-8467

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On Jan 9, 2020, at 8:11 PM, Matt Topic <matt@loevy.com> wrote:


Sounds good. Thanks.

On Thu, Jan 9, 2020 at 5:34 PM 'Enlow, Courtney D. (CIV)' via FOIA Team
<FOIA@loevy.com> wrote:

Hi Matt,



I’ve been tied up with other matters today but should be able to get a response to you tomorrow on
this.



Thanks,

Courtney



From: Matt Topic <matt@loevy.com>
Sent: Wednesday, January 08, 2020 5:41 PM
To: Enlow, Courtney D. (CIV) <cenlow@CIV.USDOJ.GOV>
Cc: Tobin, Charles D. <TobinC@ballardspahr.com>; Kelley, Matthew E. <kelleym@ballardspahr.com>;
FOIA Team <foia@loevy.com>
Subject: Re: CNN/Leopold v DOJ 19-1278 - (b)(5) privileges




Are you able to identify which are which?



On Wed, Jan 8, 2020, 4:23 PM Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov>
wrote:

 Hi Matt,

 The other privileges I was referencing in Court today were the deliberative process privilege and the
 presidential communications privilege.



 Best regards,

 Courtney

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From: Matt Topic <matt@loevy.com>
Sent: Wednesday, January 08, 2020 12:55 PM
To: Enlow, Courtney D. (CIV) <cenlow@CIV.USDOJ.GOV>
Cc: Tobin, Charles D. <TobinC@ballardspahr.com>; Kelley, Matthew E. <kelleym@ballardspahr.com>;
FOIA Team <foia@loevy.com>
Subject: CNN/Leopold v DOJ 19-1278 - (b)(5) privileges




Hi Courtney. Correct me if I'm wrong, but all we've seen so far as the
underlying (b)(5) privileges is attorney work product. Could you please
identify for us as soon as possible the other underlying privileges you
referenced in court today? I don't think we know which they are.



--




Matthew Topic

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@mvtopic




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                     AWP only                                         PCP and DPP                                 AWP, PCP, DPP
                          Interview   Production                            Interview Production                       Interview Production
          Name               Date        Date               Name               Date      Date              Name           Date      Date
Beniaminov                   1/6/2018    1/2/2020   [Name withheld in 302]   8/15/2017  1/2/2020   Dearborn             6/20/2018   1/2/2020
Gerson                     6/15/2018     1/2/2020   McFarland                12/5/2017  1/2/2020   Dhillon            11/21/2017    1/2/2020
Gerson                       6/5/2018    1/2/2020   McFarland                9/14/2017  1/2/2020   Kushner              4/11/2018   1/2/2020
[Name withheld in 302]     4/12/2018     1/2/2020   McFarland               10/17/2017  1/2/2020   McFarland          12/22/2017    1/2/2020
Kaveladze                 11/16/2017     1/2/2020   [Name withheld in 302]   1/18/2019 12/1/2019   Porter               4/13/2018   1/2/2020
Mashburn                     8/2/2018    1/2/2020   Rosenstein               5/23/2017 12/1/2019   Porter                5/8/2018   1/2/2020
Rtskhiladze                5/10/2018     1/2/2020   Comey                     6/7/2017 12/1/2019   S. Miller          10/31/2017    1/2/2020
[Name withheld in 302]    12/15/2017     1/2/2020                                                  Sanders               7/3/2018   1/2/2020
Sater                      9/19/2017     1/2/2020                                                  Cohen                9/12/2018   1/2/2020
Simes                      3/27/2018     1/2/2020                                                  Ruddy                 6/6/2018   1/2/2020
Simes                        3/8/2018    1/2/2020                                                  Kelly                 8/2/2018 12/1/2019
Newman                     8/23/2018 12/1/2019                                                     Hicks                3/13/2018 12/1/2019
                                                                                                   McCord               7/17/2017 12/1/2019
                                                                                                   Hicks                12/8/2017 12/1/2019
                                                                                                   Cohen              11/20/2018 12/1/2019
                                                                                                   Christie             2/13/2019 12/1/2019
                                                                                                   Lewandowski           4/6/2018 12/1/2019
                                                                                                   Bannon               2/14/2018 11/1/2019
                                                                                                   Cohen                9/18/2018 11/1/2019
                                                                                                   Cohen                 8/7/2018 11/1/2019
